 JS 44 (Rev. 06/17]
                                     AlCase 2:18-cv-00139-AB Document 1 Filed 01/11/18 Page 1 of 38
                                                                                        CIVIL COVER SHEET
-fhe JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadin&s or other papers as required by law, except as
  provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
  purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

                                                                                                                                oJ?Jtfa~\'Wot~~~ LLC d/b/a DrycastJl,                                8                    139
     (b)                                                                                                                          County of Residence of First Listed Defendant
                                                                                                                                                                   (JN US. PLAINTIFF CASES ONLY)
                                                                                                                                  NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                               THE TRACT OF LAND INVOLVED.

     ( C) Attorneys (Firm Name, Address, and Telep ne Number)                                                                      Attorneys (If Known)
  Bock, Hatch, Lewis & Oppenheim, LL
  134 N. La Salle St., Ste. 1000
  Chicago, IL 60602 Telephon · 312-658-5500

 II. BASIS OF JURISDICTI N (Place an "X"inOneBoxOnlyJ                                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                  "X'' in one Box for Plaintiff
                                                                                                                             (For Diversity Cases Only)                                                    and One Box for Defendant)
 0 I     U.S. Government                               Federal Question                                                                                     PTF        DEF                                                    PTF          DEF
            Plaintiff                                    (US. Government Not a Party)                                  Citizen of This State                0 I         0    1    Incorporated or Principal Place               0 4        0 4
                                                                                                                                                                                    of Business In This State

 0 2 U.S. Government                                   Diversity                                                       Citizen of Another State             0 2        0     2    Incorporated and Principal Place              0 5        0 5
        Defendant                                        (Indicate Citizenship of Parties in Item Ill)                                                                               of Business In Another State

                                                                                                                                                            0 3        0     3    Foreign Nation                                0 6        0 6

 IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                      Click here for: Nature of Suit Code Descri tions.
             CONTRACT                                                         TORTS                                       FORFEITURE/PENALTY                                BANKRUPTCY                           OTHER STATUTES
 0   110 Insurance                               PERSONAL INJURY                   PERSONAL INJURY                     0 625 Drug Related Seizure                0 422 Appeal 28 USC 158                  0 375 False Claims Act
 0   120 Marine                              0   310 Airplane                    0 365 Personal Injury -                        of Property 21 USC 881           O 423 Withdrawal                                  O 376 Qui Tam (31 USC
 0   130MillerAct                            0   315AirplaneProduct                     Product Liability              0 6900ther                                      28USC 157                                          3729(a))
 0   140 Negotiable Instrument                        Liability                  0 367 Health Care/                                                                    l--...===,.,...=.,,,.,,,,,..--10 400 State Reapportionment
 0   150 Recovery of Overpayment                   0
                                                 320 Assault, Libel &                  Phannaceutical                                                                  ...,,,..P.__R.o..,P_R_T;-Y~R.IG~H.,.T"'S_-1 O 410 Antitrust
         & Enforcement of Judgment                    Slander                          Personal Injury                                                                  0 820 Copyrights                           0 430 Banks and Banking
 0   151 Medicare Act                              0
                                                 330 Federal Employers'                Product Liability                                                                0 830 Patent                               0 450 Commerce
 0   152 Recovery of Defaulted                        Liability                  0 368 Asbestos Personal                                                                O 835 Patent - Abbreviated                 O 460 Deportation
         Student Loans                             0
                                                 340 Marine                             Injury Product                                                                           New Drug Application              0 470 Racketeer Influenced and
         (Excludes Veterans)                       0
                                                 345 Marine Product                    Liability                                                                        0 840 Trademark                                  Corrupt Organizations
 0   153 Recovery of Overpayment                      Liability                   PERSONAL PROPERTY                                 1-----..,..._.L,o;A,.B,,O.,Ri>----+--.....,O""C~JA-L._S~E~C~~u...~--1                Consumer Credit
         of Veteran's Benefits                     0
                                                 350 Motor Vehicle               0 370 Other Fraud                                    0 710 Fair Labor Standards        O 861 HIA (1395ff)                               Cable/Sat TV
 0   160 Stockholders' Suits                       0
                                                 355 Motor Vehicle               0 371 Truth in Lending                                      Act                        0 862 Black Lung (923)                           Securities/Commodities/
 0   190 Other Contract                              Product Liability           0 380 Other Personal                                 0 720 Labor/Management            0 863 DIWC/DIWW (405(g)                           Exchange
 0   195 Contract Product Liability               0
                                                 360 Other Personal                    Property Damage                                       Relations                  0 864 SSID Title XVI                           0 Other Statutory Actions
 0   !96Franchise                                    Injury                      0 385PropertyDamage                                  0 740RailwayLaborAct              0 865RSI(405(g))                              91AgriculturalActs
                                                 362 Personal hrjury -
                                                  0                                    Product Liability                              0 751 Family and Medical                                                       893 Environmental Matters
                                                     Medical Mal ractice                                                                     Leave Act                                                             0 895 Freedom of Information
'---'"'R"'E"'A"'L"'P_.R,_,O""P"'E"'R"'"T'-Y"---+--'C"'l'"'VIL-=_,.Rl=G"'H'-'T"'S'----+-"'"PRl=S~O""NE=R=P::E.o.TI.:.T:.:I"'O"'N"'S'-' 0 790 Other Labor Litigation t--:;;=='.:'":"===t:::-7"1                             Act
 0 210 Land Condemnation                          0 440 Other Civil Rights                      Habeas Corpus:                        0 791 Employee Retirement         0 870 Taxes (U.S. Plaintiff                0 896 Arbitration
 0 220 Foreclosure                                0 441 Voting                              0 463 Alien Detainee                            Income Security Act                   or Defendant)                    0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment                     0 442 Employment                          0 510 Motions to Vacate                                                     0 871 IRS-Third Party                            Act/Review or Appeal of
 0 240 Torts to Land                              0 443 Housing/                                      Sentence                                                                    26 USC 7609                            Agency Decision
 0 245 Tort Product Liability                               Accommodations                  0 530 General                                                                                                          0 950 Constitutionality of
 0 290 All Other Real Property                    0 445 Amer. w/Disabilities - 0 535 Death Penalty                                           IMMIGRATION                                                                 State Statutes
                                                            Employment                          Other:                                0 462 Naturalization Application
                                                  0 446 Amer. w/Disabilities - 0 540 Mandamus & Other 0 465 Other Immigration
                                                            Other                           0 550 Civil Rights                              Actions
                                                  0 448 Education                           0 555 Prison Condition
                                                                                            0 560 Civil Detainee •
                                                                                                     Conditions of
                                                                                                     Confinement
          RI GIN (Place an "X" in One Box Only)
        Original               0 2 Removed from                      0    3     Remanded from                  0 4 Reinstated or             0 5 Transferred from                0 6 Multidistrict                   0 8 Multidistrict
        Proceeding                    State Court                               Appellate Court                       Reopened                       Another District                Litigation -                           Litigation -
                                                                                                                                                     (s ecifY)                       Transfer                               Direct File
                                                  Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 V . CAUSE OF ACTION t-::4~7~U":'.""'S...:::C'--."""·=~----------------------------­
                                                       7                 22
                                  escnp!ion of cause:
                                                  Vio tion of the Tele hone Consumer Protection Act
 VII. REQUESTED IN                                                                                                        DEMAND$                                            CHECK YES only if demanded in complaint:
      COMPLAINT:                                                                                                                                                             JURY DEMAND:                       0 Yes           ONo
 VIII. RELATED CASE( )
       IF ANY                                                                                                                                                                                            JAN 11 Z018
 DATE
 01/11/2018
FOR OFFICE USE ONLY

     RECEIPT#                          AMOUNT                                             APPL YING IFP                                          JUDGE                                    MAG.JUDGE
                             Case 2:18-cv-00139-AB Document 1 Filed 01/11/18 Page 2 of 38
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. Ifthere are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (!)Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S. C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VID.    Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                                 Case 2:18-cv-00139-AB        'I
                                                  UNITEDDocument 1 Filed COURT
                                                         STATES DISTRICT
                                                              ,-J:;~
                                                                         01/11/18 Page 3 of 38                                                  18                139
- FOR THE EASTERN DIS                           PENNSYLVANIA -              DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
  assignme'fl appropriate

 Addresso.intiff:                St~.Y:e~~-A:_P.?..n.ne'°PM, P.C_, 9102 Babcock Blvd., Ste. 109 Pittsburgh, PA 15237
 AddressofDefendant:             Dry Cast Holdings LLC, 3820 Bendemeer Road Cleveland, Ohio 44118
 Place of Accident, Incident or Transaction: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                              (Use Reverse Side For Additional Space)

 Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning                     ore of its stock?
      (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. I (a))                                    YesD

 Does this case involve multidistrict litigation possibilities?
 RELATED CASE. IF ANY:
 Case Number: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date T e r m i n a t e d : - - - - - , ! - - - - + - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

 I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      N~
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               YesD      No:M
3. Docs this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously
          terminated action in this court?                                                                                            YesD         NJti


4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                      YesD         Noi'X


CIVIL: (Place         t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                       B. Diversity Jurisdiction Cases:
     I.    o Indemnity Contract, Marine Contract, and All Other Contracts                                       I.   D   Insurance Contract and Other Contracts
 2. o FELA                                                                                                      2.   D   Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                                 3.   D   Assault, Defamation
 4.        D   Antitrust                                                                                        4.   D   Marine Personal Injury
 5.        D   Patent                                                                                           5.   D   Motor Vehicle Personal Injury
 6.        D   Labor-Management Relations                                                                       6.   D   Other Personal Injury (Please specify)
 7.        D   Civil Rights                                                                                     7.   D   Products Liability
 8. o Habeas Corpus                                                                                             8.   D   Products Liability -      Asbestos
               Securities Act(s) Cases                                                                          9.   D   All other Diversity Cases
               Social Security Review Cases                                                                              (Please specify) - - - - - - - - - - - - - -
               All other F~deral Question Cases
               (Pleasespecify)      47 U.S.C. § 227
                                                                          ARBITRATION CERTIFICATION
                                                                                   (Check Appropriate Category)
I,             ichard Shenkan                                          , counsel of record do hereby certify:
           ursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
     I 50, 00.00 exclusive of interest and costs;
           Relief other than monetary damages is sought.


                    Ol/l 1/20J8                               Richard Shenkan                         ~c.rd ~-----------
                                                              Attorney -at-Law                                                         Attorney l.D.#
                                             NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.
                                                                                                                                                              JAN 1i 2om
DATE: _0_1_/l_l_/2_0_1_8_                                    Richard Shenkan                         ~I.eve ~
                                                                                                                                    ----------~
                                                                Attorney-at-Law                                                          Attomeyl.D.#
CIV. 609 (5/2012)




                    Telephone                                              FAX Number                                         E-Mail Address
v                               Case 2:18-cv-00139-AB Document 1 Filed 01/11/18 Page 4 of 38

                                 ,IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               CAt MANAGEMENT TRACK DESIGNATION FORM
ii;~N      A. CO        R D:PM,.P.C.,
  'iJ,
iv.;..l!lually      ·· the
               and as· · · representatives
                            ..             of a class                               CIVIL ACTION
imilarly· situated persons,

f CAST HOLDINGS LLC d/b/a DRYCAST,
                                   v.
                                                                                            18             139~
                                                                                    NO.

        In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
        plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
        filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
        side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
        designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
        the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
        to which that defendant believes the case should be assigned.

        SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
        (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

        (b) Social Security - Cases requesting review of a decision of the Secretary of Health
            and Human Services denying plaintiff Social Security Benefits.                                  ( )

        (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
        (d) Asbestos - Cases involving claims for personal injury or property damage from
            exposure to asbestos.                                                                           ( )

        (e) Special Management - Cases that do not fall into tracks (a) through (d) ~hat are
            commonly referred to as complex and that need special or intense management by
            the court. (See reverse side of this form for a detailed explanation of special
            management cases.)

        (f) Standard Management - Cases that do not fall into any one of the other tracks.



        . 01/11/2018                             Richard Shenkan                 Steven A. Conner D
        Date                                     Attorney-at-law                Attorney for
            248-562-1320                        888-769-1774                     rshenkan@shenkanlaw.com

        Telephone                                 FAX Number                    E-Mail Address


        (Civ. 660) 10/02




                                                                                       JAN 11       20~B
          Case 2:18-cv-00139-AB Document 1 Filed 01/11/18 Page 5 of 38

                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)        The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.l and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.l of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.




                                                                                                JAN 11 2018
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                                                         j~ IN THE UNITED STATES DISTRICT COURT
                     ' ...... ...         ..,. .         Fi'IR THE EASTERN DISTRICT OF PENNSYLVANIA
.. .   ,~·,   ...           ~       ~··        ~-   ..




STEVEN A. CONNER DPM, P.C.,                                                      )
individually and as the representatives of                                       )
a class of similarly-situated persons,                                           )
                                                                                 ))                118        139
                                                                 Plaintiff,
                                                                                 ) Case No.
                                                   v.                            )
                                                                                 ) CLASS ACTION
DRY CAST HOLDINGS LLC d/b/a
DRY CAST,
                                                                                 )
                                                                                 )
                                                                                                                   FILED
                                                                                 )                                 JAN 11 2018
                                                                 Defendant.      )
                                                                                                                 KAT~~~N, Clerk
                                                                                                               By   ,.,...... Dep. Clerk

                                                                  CLASS ACTION COMPLAINT

                    Plaintiff, Steven A. Conner DPM, P.C., ("Plaintiff'), brings this action on

behalf of itself and all other persons similarly situated and, except for those

allegations pertaining to Plaintiff or its attorneys, which are based upon personal

knowledge, allege the following upon information and belief against defendant, Dry

Cast Holdings, LLC d/b/a DryCast ("DryCast"):

                                                                  PRELIMINARY STATEMENT
                    1.                             Defendant has sent advertisements by facsimile in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, and the regulations the

Federal Communications Commission ("FCC") has prescribed thereunder, 47 C.F.R.

§ 64.1200 (collectively, the "TCPA").

                    2.                         Defendant sent Plaintiff at least one advertisement by facsimile and in

violation of the TCPA. Exhibit A. Plaintiff did not expressly consent to receive any
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advertisement from Defendant by fax. Moreover, Plaintiff does not have an

established business relationship with Defendant.

       3.    Plaintiff brings this action against Defendant on behalf of a class of all

persons and entities that Defendant sent one or more telephone facsimile messages

("faxes") about Defendant's cast protection devices, seeking statutory damages for

each violation of the TCPA, trebling of the statutory damages if the Court

determines Defendant's violations were knowing or willful, injunctive relief,

compensation and attorney fees (under the conversion count), and all other relief

the Court deems appropriate under the circumstances.

       4.    Defendant's unsolicited faxes damaged Plaintiff and the other class

members. Unsolicited faxes tie up the telephone lines, prevent fax machines from

receiving authorized faxes, prevent their use for authorized outgoing faxes, cause

undue wear and tear on the recipients' fax machines, and require additional labor to

attempt to discern the source and purpose of the unsolicited message. The recipient

of a "junk" fax loses the use of its fax machine while receiving an unsolicited fax

transmission, and many lose their paper and ink toner in printing the fax. Such an

unsolicited fax interrupts the recipient's privacy. A junk fax wastes the recipient's

valuable time that would have been spent on something else.

      5.     Defendant's fax advertises a commercially available medical device for

protecting casts. Exhibit A.

      6.     Defendant's fax promotes the sale of Defendant's cast protecting

devices directly to physicians and also requests that physicians refer their patients


                                          2
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to Drycast.com to obtain Defendant's products. Exhibit A.

                     PARTIES. JURISDICTION. AND VENUE

       7.    Plaintiff, Steven A. Conner DPM, P.C., is a private medical practice in

Pittsburgh, Pennsylvania.

       8.    On information and belief, Drycast Holding Company, LLC d/b/a

Drycast is an Ohio limited liability company with its principal place of business in

Cleveland, Ohio.

       9.    The Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

47 U.S.C. § 227.

       10.   Personal jurisdiction exists over Defendant in Pennsylvania because

Defendant has transacted business within the State and has committed tortious

acts within the State.

       11.   Venue is proper in the Eastern District of Pennsylvania because

Defendant committed statutory torts within this District and a significant portion of

the events took place here.

                                       FACTS

      12.    Defendant sent advertisements by facsimile to Plaintiff and a class of

similarly-situated persons. Whether Defendant did so directly or with the

assistance of a third party (yet unknown to Plaintiffs), Defendant is directly liable

for violating the TCPA.

      13.    Plaintiff has received at least one of Defendant's advertisements by

facsimile. A true and correct copy of the fax Plaintiff received on October 9, 2015 is


                                          3
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attached as Exhibit A.

       14.       Exhibit A is a one-page document Defendant sent by fax promoting

Defendant's DryCast Cast Protector.

       15.       Exhibit A promotes the commercial availability of Defendant's cast

protection medical devices by stating that Defendant's cast protector is "affordable"

and by offering the fax recipient a "FREE Sample" indicating that Defendant

normally charges for its cast protection devices. Exhibit A.

       16.       Exhibit A promotes the quality of Defendant's DryCast products by

stating:

             •   Easy to put on & take off
             •   No pump necessary
             •   Reusable, comfortable and affordable
             •   Keeps cast or bandage completely dry in the shower
             •   Made with durable taffeta vinyl (8x stronger than standard
                 protectors)

       17.       Exhibit A promotes the quality of Defendant's DryCast products by

stating that Drycast is used by the U.S. Army and Navy, the Cleveland Indians, and

leading hospitals and that Drycast has been "Trusted for over 25 years!" Exhibit A.

       18.       Exhibit A requests that physicians carry Defendant's DryCast products

in their office or refer their patients to drycast.com. Exhibit A.

       19.       Exhibit A provides Defendant's telephone number and website address

to contact Defendant to order its products. Exhibit A.

      20.        Exhibit A does not include a complaint mandatory opt-out notice

required by 47 C.F.R. § 64.1200 (a) (4).

      21.        Plaintiff did not expressly invite or give permission to anyone to send

                                             4
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Exhibit A or any other advertisement from Defendant to Plaintiffs fax machine.

          22.   On information and belief, Defendant sent advertisements by facsimile

to Plaintiff and more than 39 other persons in violation of the TCPA.

          23.   Plaintiff and the other class members owe no obligation to protect their

fax machines from Defendant. Their fax machines are ready to send and receive

their urgent communications, or private communications about patients' medical

needs, not to receive Defendant's unlawful advertisements.

                            CLASS ACTION ALLEGATIONS
          24.   Plaintiff brings this action as a class action on behalf of itself and all

others similarly situated as members of a class, initially defined as follows:

      Each person sent one or more telephone facsimile messages since
      January 11, 2014, about DryCAST cast protectors being available for
      purchase through drycast.com or by calling 888-379-2278, and which
      did not explain that the fax recipient could request that the sender not
      send any future advertisements by facsimile and that the sender's
      failure to comply with such a request within 30 days would be
      unlawful.

Plaintiff anticipates modifying the proposed class definition, including proposing

subclasses where appropriate, after discovery about the scope and breadth of

Defendant's fax advertising program and will do so through an amended motion for

class certification pursuant to Fed. R. Civ. P. 23.

      25.       Excluded from the class are Defendant, any entity in which Defendant

has   a     controlling interest,   each of Defendant's       officers,   directors,   legal

representatives, heirs, successors, and assigns, and any Judge assigned to this

action, including his or her immediate family.



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       26.     In this action, Plaintiff intends to discover, include, and resolve the

merits of claims about all advertisements Defendant sent by fax. Exhibit B, a

Demand for Preservation of All Tangible Documents Including Electronically Stored

Information.

       27.     This action is brought and may properly be maintained as a class

action pursuant to Fed. R. Civ. P. 23. This action satisfies Rule 23 (a)'s numerosity,

commonality, typicality, and adequacy requirements. Furthermore, the questions of

law or fact that are common in this action predominate over any individual

questions of law or fact making class representation the superior method to

adjudicate this controversy under Rule 23 (b) (3).

      28.      Numerosity/impracticality of joinder. On information and belief, the

class consists of more than 39 persons and, thus, is so numerous that individual

joinder of each member is impracticable. The precise number of class members and

their identities are unknown to Plaintiffs, but will be obtained from Defendant's

records or the records of third parties.

      29.      Commonality and predominance. There is a well-defined community of

interest and there are common questions of law and fact that predominate over any

questions affecting only individual members of the class. These common legal and

factual questions, which do not vary from one class member to another, and which

may be determined without reference to the individual circumstances of any class

member, include, but are not limited to the following:

               a.    Whether Exhibit A and other yet-to-be-discovered facsimiles


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       sent by or on behalf of Defendant advertised the commercial availability or

       quality of any property, goods or services;

             b.     Whether Defendant was the sender of advertisements by

       facsimile;

             c.     The manner and method used to compile or obtain the list(s) of

       fax numbers to which Defendant sent the faxes at issue;

             d.     Whether the Court should award statutory damages to Plaintiff

       and the other class members;

             e.     If the Court finds that Defendant willfully or knowingly violated

      the TCPA, whether the Court should exercise its discretion to increase the

      amount of the statutory damages award to an amount equal to not more than

      three times the amount;

             f.     Whether the Court should enjoin Defendant from faxing

      advertisements in the future; and

             g.     Whether Defendant's conduct as alleged herein constituted

      conversion.

      30.    TvPicalitv of claims. Plaintiffs claims are typical of the claims of the

other class members, because Plaintiff and all class members were injured by the

same wrongful practices. Plaintiff and the members of the class received

Defendant's advertisements by facsimile and those advertisements did not contain

the opt-out notice required by the TCPA. Under the facts of this case, because the

focus is upon Defendant's conduct, if Plaintiff prevails on its claims, then the other


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putative class members will prevail as well.

       31.    Adequacy of representation. Plaintiff is an adequate representative of

the class because its interests do not conflict with the interests of the class it seeks

to represent. Plaintiff has retained counsel competent and experienced in complex

class action litigation, and TCPA litigation in particular, and Plaintiff intends to

vigorously prosecute this action. Plaintiff and its counsel will fairly and adequately

protect the interest of members of the class.

       32.    Prosecution of separate claims would vield inconsistent results. Even

though the questions of fact and law in this action are predominantly common to

Plaintiff and the putative class members, separate adjudication of each class

member's claims would yield inconsistent and varying adjudications. Such

inconsistent rulings would create incompatible standards for Defendant to operate

under if/when class members bring additional lawsuits concerning the same

unsolicited fax advertisements or if Defendant chooses to advertise by fax again in

the future.

      33.     A class action is the superior method of ad.iudicating the common

questions of law or fact that predominate over individual questions. A class action is

superior to other available methods for the fair and efficient adjudication of this

lawsuit, because individual litigation of the claims of all class members is

economically unfeasible and procedurally impracticable. The likelihood of individual

class members prosecuting separate claims is remote, and even if every class

member could afford individual litigation, the court system would be unduly


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burdened by individual litigation of such cases. Plaintiff knows of no difficulty to be

encountered in the management of this action that would preclude its maintenance

as a class action. Relief concerning Plaintiffs rights under the laws herein alleged

and with respect to the class would be proper. Plaintiff envisions no difficulty in the

management of this action as a class action.

                               COUNT I
             TELEPHONE CONSUMER PROTECTION ACT. 47 U.S.C. § 227

       34.      Plaintiff incorporates the preceding paragraphs as though fully set

forth herein.

       35.      Plaintiff brings Count I on behalf of itself and a class of similarly

situated persons against Defendant.

       36.      The TCPA prohibits the "use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone

facsimile machine .... " 47 U.S.C. § 227 (b) (1).

       37.      The TCPA defines "unsolicited advertisement" as "any material

advertising the commercial availability or quality of any property, goods, or services

which is transmitted to any person without that person's express invitation or

permission." 47 U.S.C. § 227 (a) (4).

       38.      Exhibit A advertises Defendant's commercially available DryCast cast

protection medical device. Exhibit A.

      39.       Defendant sent Exhibit A to Plaintiff and the fax machines of other

health professionals requesting that fax recipients purchase Defendant's product or

refer their patients directly to Defendant.

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       40.    The TCPA provides a private right of action as follows:

                     3.     Private right of action. A person may, if
              otherwise permitted by the laws or rules of court of a
              state, bring in an appropriate court of that state:

                           (A)    An action based on a violation of this
                     subsection or the regulations prescribed under this
                     subsection to enjoin such violation,

                            (B)     An action to recover for actual
                     monetary loss from such a violation, or to receive
                     $500 in damages for each such violation, whichever
                     is greater, or

                            (C)    Both such actions.

47 U.S.C. § 227 (b) (3).

       41.    The Court, in its discretion, may treble the statutory damages if it

determines that a violation was knowing or willful. 47 U.S.C. § 227 (b) (3).

       42.    Here, Defendant violated 4 7 U.S.C. § 227 (b) (1) (C) by sending

advertisements by facsimile (such as Exhibit A) to Plaintiff and the other class

members without their prior express invitation or permission.

       43.   The TCPA requires that every advertisement sent by facsimile must

include an opt-out notice clearly and conspicuously displayed on the bottom of its

first page. 47 U.S.C. § 227 (b) (2) (D) and (E); 47 C.F.R. § 64.1200 (a) (4).

      44.    Here, Defendant violated 47 U.S.C. § 227 (b) (2) (D) and (E) and 47

C.F.R. § 64.1200 (a) (4) (iii) & (v) by failing to include a compliant opt-out notice.

Exhibit A.

      45.    Facsimile advertising imposes burdens on recipients that are distinct

from the burdens imposed by other types of advertising. The required opt-out notice

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provides recipients the necessary information to opt-out of future fax transmissions,

including a notice that the sender's failure to comply with the opt-out request will

be unlawful. 47 C.F.R. § 64.1200 (a) (4) (iii).

       46.    Exhibit A does not state that Defendant's failure to comply with an

opt-out request within 30 days is unlawful.

       47.    Exhibit A does not inform the recipient that he/she/it has a legal right

to request that Defendant not send any future fax.

       48.    Exhibit A does not inform the recipient that an opt-out request will be

valid only unless and until the person making the request subsequently provides

express invitation or permission to the sender, in writing or otherwise, to send such

advertisement to such person at such telephone facsimile machine.

       49.    The TCPA is a strict liability statute and Defendant is liable to

Plaintiff and the other class members even if Defendant's actions were negligent. 4 7

U.S.C. § 227 (b) (3).

       50.    If Defendant's actions were knowing or willful, then the Court has the

discretion to increase the statutory damages up to three times the amount. 47

U.S.C. § 227 (b) (3).

       51.    Defendant Drycast is liable for the fax advertisements at issue because

it sent the faxes, caused the faxes to be sent, participated in the activity giving rise

to or constituting the violation, the faxes advertise Defendant's good, products, or

services, Defendant created the faxes to be sent or approved the faxes to be sent,

Defendant paid a fax broadcaster to send its faxes, the faxes were sent on


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Defendant's behalf, or under general principles of vicarious liability, including

actual authority, apparent authority and ratification.

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in his favor and against Defendant as follows:

       A.      That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

class, and appoint Plaintiffs counsel as counsel for the class;

       B.      That the Court award $500.00 in statutory damages for each violation

of the TCPA;

       C.      That, if it finds Defendant willfully or knowingly violated the TCPA's

faxing prohibitions, the Court exercise its discretion to increase the amount of the

statutory damages award to an amount equal to not more than 3 times the amount

(Plaintiff requests trebling);

       D.      That the Court enter an injunction prohibiting Defendant from

violating the TCPA; and

       E.      That the Court award costs and such further relief as the Court may

deem just and proper.

                                     COUNT II
                                    CONVERSION


       52.     Plaintiff incorporates by reference all preceding paragraphs as though

fully set forth herein.

       53.     Plaintiff brings Count II on behalf of itself and a class of similarly

situated persons and against Defendant.
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       54.    By sending advertisements          to   their fax   machines,   Defendant

improperly and unlawfully converted the class's fax machines to Defendant's own

use. Where printed (as in Plaintiffs case), Defendant also improperly and

unlawfully converted the class members' paper and toner to Defendant's own use.

Defendant also converted Plaintiffs time to Defendant's own use, as it did with the

valuable time of the other class members.

       55.   Immediately prior to the sending of the unsolicited faxes, Plaintiff and

the other class members each owned an unqualified and immediate right to

possession of their fax machines, paper, toner, and employee time.

       56.   By    sending    them    unsolicited     faxes,   Defendant    permanently

misappropriated the class members' fax machines, toner, paper, and employee time

to their own use. Such misappropriation was wrongful and without authorization.

       57.   Defendant knew or should have known that its misappropriation of

paper, toner, and employee time was wrongful and without authorization.

       58.   Plaintiff and the other class members were deprived of the use of the

fax machines, paper, toner, and employee time, which could no longer be used for

any other purpose. Plaintiff and each class member thereby suffered damages as a

result of their receipt of unsolicited fax advertisements from Defendant.

      59.    Defendant's unsolicited faxes effectively stole Plaintiffs employees'

time because persons employed by Plaintiff were in:volved in receiving, routing, and

reviewing Defendant's illegal faxes. Defendant knew or should have known

employees' time is valuable to Plaintiff.


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      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in his favor and against Defendant as follows:

      A.     That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

class, and appoint Plaintiffs counsel as counsel for the class;

      B.     That the Court award damages;

      C.     That the Court award punitive damages;

      D.     That the Court award attorney's fees;

      E.     That the Court award costs of suit; and

      F.     That the Court award such further relief as it may deem just and

proper under the circumstances.

                          Respectfully submitted,

                          Steven A. Conner DPM, P.C., individually and as the
                          representative of a class of similarly·situa~

                          By: Isl Phillip A. Bock   ~/1
                          Richard Shenkan (PA 79800)
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                          6550 Lakeshore St.
                          West Bloomfield, MI 48321429
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                          Facsimile: 888-769-1774
                          rshenkan@shenkanlaw.com

                          Phillip A. Bock (pro hac vice to be submitted)
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                          134 N. La Salle St., Ste. 1000
                          Chicago, IL 60602
                          Telephone: 312-658-5500
                          Facsimile: 312-658-5555
                          service@classlawyers. com

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            EXHIBIT A
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            EXHIBIT B
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  BOCK, HATCH, LEWIS & OPPENHEIM, LLC
                    134 North La Salle Street, Suite 1000
                              Chicago, IL 60602
               312-658-5500 (Phone) • 312-658-5555 (Fax)

                                January 11, 2018

In re: Steven A. Conner DPM, P.C. v. Dry Cast Holdings LLC d/b/ a Drycast (ED
Pennsylvania).

            Demand for Preservation of All Tangible Documents
               Including Electronically Stored Information

       As part of the Class Action Complaint against Dry Cast Holdings LLC
d/b/a Drycast ("Defendant"), plaintiff, Steven A. Conner DPM, P.C., hereby
issues a demand for Defendant to preserve all tangible documents, including
electronically stored information.

      As used in this document, "you" and "your" refers to each Defendant,
and its predecessors, successors, parents, subsidiaries, divisions or affiliates,
and its respective officers, directors, agents, attorneys, accountants,
employees, partners or other persons occupying similar positions or performing
similar functions.

      You should anticipate that much of the information subject to disclosure
or responsive to discovery in this matter is stored on your current and former
computer systems and other media and devices (including personal digital
assistants, voice-messaging systems, online repositories and cell phones).

      Electronically stored information (hereinafter "ESI") should be afforded
the broadest possible definition and includes (by way of example and not as an
exclusive list) potentially relevant information electronically, magnetically or
optically stored as:

• Digital communications (e.g., e-mail, voice mail, instant messaging);
• Word processed documents (e.g., Word or WordPerfect documents and
drafts);
•Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
•Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);
• Image and Facsimile Files (e.g., .PDF, .TIFF, .JPG, .GIF images);
• Sound Recordings (e.g., .WAV and .MP3 files);
•Video and Animation (e.g., .AVI and .MOV files);
•Databases (e.g., Access, Oracle, SQL Server data, SAP);


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•Contact and Relationship Management Data (e.g., Outlook, ACT!);
•Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);
• Online Access Data (e.g., Temporary Internet Files, History, Cookies);
• Presentations (e.g., PowerPoint, Corel Presentations)
•Network Access and Server Activity Logs;
•Project Management Application Data;
•Computer Aided Design/Drawing Files; and,
• Back Up and Archival Files (e.g., Zip, .GHO)

      ESI resides not only in areas of electronic, magnetic and optical storage
media reasonably accessible to you, but also in areas you may deem not
reasonably accessible. You are obliged to preserve potentially relevant evidence
from both these sources of ESI, even if you do not anticipate producing such
ESL

       The demand that you preserve both accessible and inaccessible ESI is
reasonable and necessary. Pursuant to amendments to the Federal Rules of
Civil Procedure that have been approved by the United States Supreme Court
(eff. 12/ 1/05), you must identify all sources of ESI you decline to produce and
demonstrate to the court why such sources are not reasonably accessible. For
good cause shown, the court may then order production of the ESI, even if it
finds that it is not reasonably accessible. Accordingly, even ESI that you deem
reasonably inaccessible must be preserved in the interim so as not to deprive
the plaintiffs of their right to secure the evidence or the Court of its right to
adjudicate the issue.

            A.    Preservation Requires Immediate Intervention

      You must act immediately to preserve potentially relevant ESI regarding
the time period of January 2014 to the date You receive this letter. Potentially
relevant ESI includes, but is not limited to information:

1. Regarding the events and causes of action described in Plaintiffs Class
Action Complaint; and
2. Regarding Your claims or defenses to Plaintiff's Class Action Complaint.

       Adequate preservation of ESI requires more than simply refraining from
efforts to destroy or dispose of such evidence. You must also intervene to
prevent loss due to routine operations and employ proper techniques and
protocols suited to protection of ESL Be advised that sources of ESI are altered
and erased by continued use of your computers and other devices. Booting a
drive, examining its contents or running any application will irretrievably alter
the evidence it contains and may constitute unlawful spoliation of evidence.
Consequently, alteration and erasure may result from your failure to act
diligently and responsibly to prevent loss or corruption of ESL Nothing in this
demand for preservation of ESI should be understood to diminish your

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concurrent obligation to preserve document, tangible things and other
potentially relevant evidence.

                   B.    Suspension of Routine Destruction

       You are directed to immediately initiate a litigation hold for potentially
relevant ESI, documents and tangible things, and to act diligently and in good
faith to secure and audit compliance with such litigation hold. You are further
directed to immediately identify and modify or suspend features of your
information systems and devices that, in routine operation, operate to cause
the loss of potentially relevant ESL Examples of such features and operations
include:

• Purging the contents of e-mail repositories by age, capacity or other criteria;
• Using data or media wiping, disposal, erasure or encryption utilities or
devices;
•Overwriting, erasing, destroying or discarding back up media;
• Re-assigning, re-imaging or disposing of systems, servers, devices or media;
• Running antivirus or other programs effecting wholesale metadata alteration;
• Releasing or purging online storage repositories;
• Using metadata stripper utilities;
• Disabling server or IM logging; and,
•Executing drive or file defragmentation or compression programs.

                         C.     Guard Against Deletion

       You should anticipate that your employees, officers or others may seek to
hide, destroy or alter ESI and act to prevent or guard against such actions.
Especially where company machines have been used for Internet access or
personal communications, you should anticipate that users may seek to delete
or destroy information they regard as personal, confidential or embarrassing
and, in so doing, may also delete or destroy potentially relevant ESL This
concern is not one unique to you or your employees and officers. It's simply an
event that occurs with such regularity in electronic discovery efforts that any
custodian of ESI and their counsel are obliged to anticipate and guard against
its occurrence.

                        D.     Preservation by Imaging

       You should take affirmative steps to prevent anyone with access to your
data, systems and archives from seeking to modify, destroy or hide electronic
evidence on network or local hard drives (such as by deleting or overwriting
files, using data shredding and overwriting applications, defragmentation, re-
imaging or replacing drives, encryption, compression, steganography or the
like). With respect to local hard drives, one way to protect existing data on local
hard drives is by the creation and authentication of a forensically qualified

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image of all sectors of the drive. Such a forensically qualified duplicate may
also be called a bitstream image or clone of the drive. Be advised that a
conventional back up of a hard drive is not a forensically qualified image
because it only captures active, unlocked data files and fails to preserve
forensically significant data that may exist in such areas as unallocated space,
slack space and the swap file.

       With respect to the hard drives and storage devices of each of the
persons named below and of each person acting in the capacity or holding the
job title named below, as well as each other person likely to have information
pertaining to the instant action on their computer hard drive(s), demand is
made that you immediately obtain, authenticate and preserve forensically
qualified images of the hard drives in any computer system (including portable
and home computers) used by that person during the period from January
2014 to today's date as well as recording and preserving the system time and
date of each such computer.

       Once obtained, each such forensically qualified image should be labeled
to identify the date of acquisition, the person or entity acquiring the image and
the system and medium from which it was obtained. Each such image should
be preserved without alteration.

                      E.    Preservation in Native Form

      You should anticipate that certain ESI, including but not limited to
spreadsheets and databases, will be sought in the form or forms in which it is
ordinarily maintained. Accordingly, you should preserve ESI in such native
forms, and you should not select methods to preserve ESI that remove or
degrade the ability to search your ESI by electronic means or make it difficult
or burdensome to access or use the information efficiently in the litigation. You
should additionally refrain from actions that shift ESI from reasonably
accessible media and forms to less accessible media and forms if the effect of
such actions is to make such ESI not reasonably accessible.

                                F.    Metadata

       You should further anticipate the need to disclose and produce system
and application metadata and act to preserve it. System metadata is
information describing the history and characteristics of other ESL This
information is typically associated with tracking or managing an electronic file
and often includes data reflecting a file's name, size, custodian, location and
dates of creation and last modification or access. Application metadata is
information automatically included or embedded in electronic files but which
may not be apparent to a user, including deleted content, draft language,
commentary, collaboration and distribution data and dates of creation and
printing. Be advised that metadata may be overwritten or corrupted by careless

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handling or improper steps to preserve ESL For electronic mail, metadata
includes all header routing data and Base 64 encoded attachment data, in
addition to the To, From, Subject, Received Date, CC and BCC fields.

                                 G.    Servers

       With respect to servers like those used to manage electronic mail (e.g.,
Microsoft Exchange, Lotus Domino) or network storage (often called a user's
"network share"), the complete contents of each user's network share and e-
mail account should be preserved. There are several ways to preserve the
contents of a server depending upon, e.g., its RAID configuration and whether
it can be downed or must be online 24/7. If you question whether the
preservation method you pursue is one that we will accept as sufficient, please
call to discuss it.

  H.     Home Systems, Laptops, Online Accounts and Other ESI Venues

      Though we expect that you will act swiftly to preserve data on office
workstations and servers, you should also determine if any home or portable
systems may contain potentially relevant data. To the extent that officers,
board members or employees have sent or received potentially relevant e-mails
or created or reviewed potentially relevant documents away from the office, you
must preserve the contents of systems, devices and media used for these
purposes (including not only potentially relevant data from portable and home
computers, but also from portable thumb drives, CD-R disks and the user's
PDA, smart phone, voice mailbox or other forms of ESI storage.). Similarly, if
employees, officers or board members used online or browser-based email
accounts or services (such as AOL, Gmail, Yahoo Mail or the like) to send or
receive potentially relevant messages and attachments, the contents of these
account mailboxes (including Sent, Deleted and Archived Message folders)
should be preserved.

                         I.    Ancillary Preservation

      You must preserve documents and other tangible items that may be
required to access, interpret or search potentially relevant ESI, including logs,
control sheets, specifications, indices, naming protocols, file lists, network
diagrams, flow charts, instruction sheets, data entry forms, abbreviation keys,
user ID and password rosters or the like.

      You must preserve any passwords, keys or other authenticators required
to access encrypted files or run applications, along with the installation disks,
user manuals and license keys for applications required to access the ESL You
must preserve any cabling, drivers and hardware, other than a standard 3.5"
floppy disk drive or standard CD or DVD optical disk drive, if needed to access


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or interpret media on which ESI is stored. This includes tape drives, bar code
readers, Zip drives and other legacy or proprietary devices.

               J.        Paper Preservation of ESI is Inadequate

      As hard copies do not preserve electronic searchability or metadata, they
are not an adequate substitute for, or cumulative of, electronically stored
versions. If information exists in both electronic and paper forms, you should
preserve both forms.

                    K.    Agents, Attorneys and Third Parties

       Your preservation obligation extends beyond ESI in your care, possession
or custody and includes ESI in the custody of others that is subject to your
direction or control. Accordingly, you must notify any current or former agent,
attorney, employee, custodian or contractor in possession of potentially
relevant ESI, including but not limited to persons/ entities involved in
marketing, advertising and fax broadcasting on your behalf, to preserve such
ESI to the full extent of your obligation to do so, and you must take reasonable
steps to secure their compliance.

        L.    System Sequestration or Forensically Sound Imaging

      We suggest that, with respect to Defendant removing their ESI systems,
media and devices from service and properly sequestering and protecting them
may be an appropriate and cost-effective preservation step. In the event you
deem it impractical to sequester systems, media and devices, we believe that
the breadth of preservation required, coupled with the modest number of
systems implicated, dictates that forensically sound imaging of the systems,
media and devices is expedient and cost effective. As we anticipate the need for
forensic examination of one or more of the systems and the presence of
relevant evidence in forensically accessible areas of the drives, we demand that
you employ forensically sound ESI preservation methods. Failure to use such
methods poses a significant threat of spoliation and data loss.

       By "forensically sound," we mean duplication, for purposes of
preservation, of all data stored on the evidence media while employing a proper
chain of custody and using tools and methods that make no changes to the
evidence and support authentication of the duplicate as a true and complete
bit-for-bit image of the original. A forensically sound preservation method
guards against changes to metadata evidence and preserves all parts of the
electronic evidence, including the so-called "unallocated clusters," holding
deleted files.




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                           M.     Preservation Protocols

       We are desirous of working with you to agree upon an acceptable
protocol for forensically sound preservation and can supply a suitable protocol,
if you will furnish an inventory of the systems and media to be preserved. Else,
if you will promptly disclose the preservation protocol you intend to employ,
perhaps we can identify any points of disagreement and resolve them. A
successful and compliant ESI preservation effort requires expertise. If you do
not currently have such expertise at your disposal, we urge you to engage the
services of an expert in electronic evidence and computer forensics. Perhaps
our respective expert(s) can work cooperatively to secure a balance between
evidence preservation and burden that's fair to both sides and acceptable to
the Court.

                      N.         Do Not Delay Preservation

      I'm available to discuss reasonable preservation steps; however, you
should not defer preservation steps pending such discussions if ESI may be
lost or corrupted as a consequence of delay. Should your failure to preserve
potentially relevant evidence result in the corruption, loss or delay in
production of evidence to which we are entitled, such failure would constitute
spoliation of evidence, and we will not hesitate to seek sanctions.

                     O.         Confirmation of Compliance

      Please confirm that you have taken the steps outlined in this letter to
preserve ESI and tangible documents potentially relevant to this action. If you
have not undertaken the steps outlined above, or have taken other actions,
please describe what you have done to preserve potentially relevant evidence.




R~ft1/kL
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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEVEN A. CONNER DPM, P.C.,                    )
individually and as the representatives of     )
a class of similarly-situated persons,         )
                                               )


             v.
                           Plaintiff,
                                               ~
                                               )
                                                   Case No.         (   0t--V r ) °I
                                               ) CLASS ACTION
DRY CAST HOLDINGS, LLC d/b/a                   )
DRY CAST,                                      )
                                               )
                           Defendant.          )



             PLAINTIFFS MOTION FOR CLASS CERTIFICATION,
        OR IN THE ALTERNATIVE, A STAY OF CLASS CERTIFICATION
                    BRIEFING PENDING DISCOVERY

      Plaintiff, Steven A. Conner DPM, P.C. ("Plaintiff'), individually and on behalf

of a class of similarly situated persons, through its attorneys, and pursuant to Fed.

R. Civ. P. 23, moves this Court for an order granting class certification, or in the

alternative, a stay of briefing pending the completion of discovery. Plaintiff seeks an

order certifying the following class:

      Each person sent one or more telephone facsimile messages since
      January 11, 2014, about DryCAST cast protectors being available for
      purchase through drycast.com or by calling 888-379-2278, and which
      did not explain that the fax recipient could request that the sender not
      send any future advertisements by facsimile and that the sender's
      failure to comply with such a request within 30 days would be
      unlawful.

      Plaintiff files this motion soon after the filing of its Class Action Complaint in

order to avoid an attempt by Defendant to moot Plaintiffs individual claims in this

class action. Plaintiff contemporaneously files a memorandum in support of this
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motion pursuant to Local Rule 7.1. However, in this case, additional discovery is

necessary for the court to determine whether to certify the class Plaintiff seeks to

represent. As a result, Plaintiff will seek leave to pursue class discovery as soon as

practicable.

      Plaintiff will supplement this motion with an additional memorandum and

other documents in support of class certification after the completion of discovery.

      WHEREFORE, based upon the foregoing, Plaintiff respectfully requests that

the Court certify this action as a class action pursuant to Fed. R. Civ. P. 23 or, in

the alternative, enter a stay of briefing pending the completion of discovery.

                          Respectfully submitted,

                          Steven A. Conner DPM, P.C., individually and as the
                          representative of a class of similarly-situated persons,

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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEVEN A. CONNER DPM, P.C.,                    )
individually and as the representatives of     )
a class of similarly-situated persons,         )
                                               )
                          Plaintiff,           )
                                               ) Case No.
             v.                                )
                                               )   CLASS ACTION
DRY CAST HOLDINGS LLC d/b/a                    )
DRY CAST,                                      )
                                               )
                          Defendant.           )



        PLAINTIFFS MEMORANDUM IN SUPPORT OF MOTION FOR
       CLASS CERTIFICATION, OR IN THE ALTERNATIVE, A STAY OF
         CLASS CERTIFICATION BRIEFING PENDING DISCOVERY

      Plaintiff, Steven A. Conner DPM, P.C. ("Plaintiff'), individually and on behalf

of a class of similarly situated persons, through his attorneys, and pursuant to Fed.

R. Civ. P. 23, moves this Court for an order granting class certification, or in the

alternative, a stay of briefing pending the completion of discovery.

      Plaintiff seeks an order certifying the following class:

      Each person sent one or more telephone facsimile messages since
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      did not explain that the fax recipient could request that the sender not
      send any future advertisements by facsimile and that the sender's
      failure to comply with such a request within 30 days would be
      unlawful.

                                  INTRODUCTION

      In the normal course of a putative class action, the plaintiff seeks discovery

concerning the size and makeup of the class, defendants pursue discovery of their
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own, and once the record is complete, the court is presented with a class

certification motion, with supporting materials. Plaintiff files this motion soon after

the filing of its Class Action Complaint in order to avoid an attempt by Defendant to

moot Plaintiffs individual claims in this class action. See, e.g., Genesis Healthcare

Corp. v. Symczyk, 133 S.Ct. 1523, 1529 (2013) (offer of full individual relief to class

representative, even though rejected, rendered case moot).

         As such, Plaintiff here files this motion prior to engaging in class discovery to

avoid the procedural gambit of having Defendants attempt a "pick-off," arguing that

Symczyk applies. "Although the Supreme Court's decision in Symczyk is ostensibly

limited to FLSA claims, there is no doubt that defendants will attempt to apply the

holding to class actions under Rule 23." John Campbell, Unprotected Class: Five

Decisions, Five Justices, and Wholesale Change to Class Action Law, 13 Wyo. L.

Rev. 463, 484 (2013). Cf. Justice Kagan's dissent in Symczyk: "So a friendly

suggestion to the Third Circuit: Rethink your mootness-by-unaccepted-offer theory.

And a note to all other courts of appeals: Don't try this at home." Genesis

Healthcare Corp., 133 S. Ct. at 1534 (Kagan, J., dissenting).

         Plaintiff believes Symczyk to be inapplicable to Rule 23 actions, but files this

motion and memorandum to prevent a Symczyk-like scenario. This motion is made

based upon the expressed view of prominent members of the defense bar that

Symczyk may be so used, and advocating for such a use. See, e.g., Alan S. Kaplinsky

et al., Supreme Court Ruling on Employee's Lawsuit Wi.11 Also Affect Rule 23 Class

Action        Cases,     JD      Supra      Law       News      (Apr.      18,     2013),


                                             2
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http://www.jdsupra.com/legalnews/supreme-court-ruling-on-employeeslawsu98339.

Plaintiff is not seeking briefing or a ruling on the motion now, but rather requests

that this motion be entered and continued until after discovery. See Damasco v.

Clearwire Corp., 662 F.3d 891, 896 (7th Cir. 2011) ("Class-action plaintiffs can move

to certify the class at the same time that they file their complaint. The pendency of

that motion protects a putative class from attempts to buy off the named

plaintiffs ... If the parties have yet to fully develop the facts needed for certification,

then they can also ask the district court to delay its ruling to provide time for

additional discovery or investigation."). At such time, Plaintiff will file an amended

motion for class certification will a full memorandum and supporting documents.

                               NATURE OF THE CASE

      This class action challenges Defendant's sending of Junk Faxes in violation of

the Telephone Consumer Protection Act ("TCPA"). The TCPA forbids Junk Faxes -

sending unsolicited advertisements for goods and services via facsimile. 47 U.S.C.

§227(b)(l)(C). The TCPA requires that even fax advertisements being sent to those

who consented to their receipt, or with whom the advertiser had an established

business relationship, must include a complaint opt out notice. 47 U.S.C.

§227(b)(2)(D).

      Defendant sent Plaintiff and similarly situated persons Junk Faxes without

their consent. These Junk Fax forms do not contain an opt out notice that complies

with the TCPA Defendant's practices affect hundreds or perhaps thousands of




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persons throughout the United States. By sending these Junk Faxes without

consent and without a compliant opt out notice, Defendant has violated the TCPA.

                                         FACTS

       On October 9, 2015 DryCast sent a fax advertisement to Plaintiff offering

Defendant's cast protector medical devices. This fax advertisement is a form

document, using a mail merge type function. Plaintiff did not consent to receive fax

advertisements from Defendant. The Junk Fax does not contain an opt out notice

that complies with the TCPA. A copy of the Junk Fax sent to Plaintiff is attached to

the Class Action Complaint as Exhibit A.

                                     ARGUMENT

       The prerequisites to class certification set out under Fed. R. Civ. P. 23(a) are

met. Upon information and belief, the class is so numerous that joinder is not

practicable. The claim of the Class Representative raises questions of law and fact

common to and typical of the claims of each class member, and the Class

Representative will fairly and adequately protect the interests of the members of

the class. Since the expense and burden of individual litigation effectively makes it

impossible for individual class members to seek redress for the wrongs alleged in

the Class Action Complaint, a class action is superior to other available methods for

the fair and efficient adjudication of this controversy.

      The case involves common fact questions about Defendants' fax campaign

and common legal questions under the Telephone Consumer Protection Act, 4 7

U.S.C. § 227 ("TCPA"), such as:


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             a. a. Whether Exhibit A and other yet-to-be-discovered facsimiles

                sent by or on behalf of Defendant advertised the commercial

                availability or quality of any property, goods or services;

             b. Whether Defendant was the sender of advertisements by facsimile;

             c. The manner and method used to compile or obtain the list(s) of fax

                numbers to which Defendant sent the faxes at issue;

             d. Whether the Court should award statutory damages to Plaintiff

                and the other class members;

             e. If the Court finds that Defendant willfully or knowingly violated

                the TCPA, whether the Court should exercise its discretion to

                increase the amount of the statutory damages award to an amount

                equal to not more than three times the amount;

             f. Whether       the   Court   should   enjoin   Defendant   from   faxing

                advertisements in the future; and

             g. Whether Defendants' conduct as alleged herein constituted

                conversion.

      Additionally, class certification is proper under Rule 23(b)(3), because

questions of law or fact to Plaintiffs claim and the claims of each class member

predominate over any question of law or fact affecting only individual class

members, and class representation is superior to other methods for the fair and

efficient adjudication of this controversy. In the alternative, class certification is

proper under Rule 23(b)(l), because the prosecution of separate claims or defenses


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by or against individual members of the class would create a risk of adjudications

concerning individual members of the class that would, as a practical matter, be

dispositive of the interests of other members of the class who are not parties to the

adjudication.

      Plaintiff requests leave to submit a brief and other evidence in support of this

motion after obtaining discovery regarding the class elements. This procedure

comports with Fed. R. Civ. P. 23(c)(l)(A), which permits district courts to wait until

"an early practicable time" before ruling on a motion to certify a class. See also

Damasco v. Clearwire Corp., 662 F.3d 891, 897 (7th Cir. 2011)("[A] court may abuse

its discretion by not allowing for appropriate discovery before deciding whether to

certify a class.")(overruled on other grounds by Chapman v. First Index, Inc., _

F.3d _     2015 WL 4652878 (7th Cir. Aug. 6, 2015))(internal citations omitted);

Whiteamire Clinic v. Quill Corp., 2013 WL 5348377 at * 3 (N.D. Ill. Sept. 24,

2013)(Schenkier, J.)("Moreover, the information plaintiff seeks in the contested first

and second requests for production is clearly relevant to class discovery; specifically,

to the issues of numerosity, commonality, and typicality.").

                                   CONCLUSION

      WHEREFORE, for the foregoing reasons, which will be borne out by class

discovery, this case is appropriate for class certification. Accordingly, Plaintiff

respectfully requests that the Court: (i) enter an order and reserve ruling on

Plaintiffs Motion for Class Certification; (ii) allow for and schedule discovery to

take place on class-wide issues; (iii) grant Plaintiff leave to file a supplemental or


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amended memorandum in support of his Motion for Class Certification upon the

conclusion of class-wide discovery; (iv) grant Plaintiffs Motion for Class

Certification after full briefing of the issues presented; and, (v) provide all other and

further relief that the Court deems reasonable and just.



                           Respectfully submitted,

                           Steven A. Conner DPM, P.C., individually and as the
                           representative of a class of similarl;y:-situated persons,

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